8:02-cr-00329-BCB-SMB           Doc # 301       Filed: 09/12/07      Page 1 of 6 - Page ID # 1291


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:02CR329-004

                                                       USM Number 18404-047

CRAIG A. ROBERTS
                        Defendant
                                                       DAVID M. O’NEILL

                                                       Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of one of the Mandatory Conditions of the term of
supervision.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offense:

     Violation Number                    Nature of Violation                     Date Violation
                                                                                  Concluded

 1                       Offender was arrested for Theft By Unlawful Taking      October 9, 2005

The Defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

Allegation Numbers 2 - 4 of the Petition are withdrawn on the motion of the United States as to
this Defendant only.

Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                    Date of Imposition of Sentence:
                                                                                September 4, 2007

                                                                        s/Laurie Smith Camp
                                                                        United States District Judge

                                                                        September 12, 2007
8:02-cr-00329-BCB-SMB          Doc # 301     Filed: 09/12/07     Page 2 of 6 - Page ID # 1292


Defendant: CRAIG A. ROBERTS                                                              Page 2 of 6
Case Number: 8:02CR329-004


                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 10 months to be served consecutive to the sentenced imposed in
State Court.

The Court makes the following recommendations to the Bureau of Prisons:

1.      Defendant shall be given credit for time served in Federal Custody and shall serve his
        time consecutive to any time imposed by the State of Nebraska.

The Defendant is remanded to the custody of the United States Marshal.

                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________,
______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of
_______________, _____ to _________________________________, with a certified copy of
this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                  By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed
the Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day
of _______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                  By:__________________________________
8:02-cr-00329-BCB-SMB           Doc # 301      Filed: 09/12/07      Page 3 of 6 - Page ID # 1293


Defendant: CRAIG A. ROBERTS                                                                   Page 3 of 6
Case Number: 8:02CR329-004


                                    SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 26
months.

The Defendant shall report to the probation office in the district to which the Defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall
refrain from any unlawful use of a controlled substance. The Defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the Court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this Court as
well as with any additional conditions on the attached page.

                          STANDARD CONDITIONS OF SUPERVISION

1.      The Defendant shall not leave the judicial district without the permission of the Court or
        probation officer;
2.      The Defendant shall report to the probation officer and shall submit a truthful and
        complete written report within the first five days of each month;
3.      The Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The Defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The Defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The Defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The Defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The Defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The Defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The Defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the Court;
8:02-cr-00329-BCB-SMB             Doc # 301        Filed: 09/12/07       Page 4 of 6 - Page ID # 1294


Defendant: CRAIG A. ROBERTS                                                                          Page 4 of 6
Case Number: 8:02CR329-004


13.     As directed by the probation officer, the Defendant shall notify third parties of risks that
        may be occasioned by the Defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the Defendant’s compliance with such notification requirement.



                              SPECIAL CONDITIONS OF SUPERVISION


1.      The Defendant shall cooperate in the collection of DNA as directed by the probation officer,
        pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for
        All Act of 2004), if such sample was not collected during imprisonment.

2.      The Defendant shall submit his or her person, residence, office, or vehicle to a search conducted
        by a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the Defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

3.      The Defendant shall participate in a victim awareness program as directed by the probation
        officer. Based on the Defendant’s ability to pay, the Defendant shall pay for the costs of the
        program in an amount determined by the probation officer.

4.      The Defendant shall complete 75 hours of community service as approved and directed by the
        probation officer. The Defendant shall be responsible for providing the probation officer with
        written proof of the number of hours completed.

5.      The Defendant shall provide the probation officer with access to any requested financial
        information.

6.      Pursuant to 18 U.S.C. § 3583 (d), the Defendant shall submit to a drug test within fifteen (15) days
        of release on supervised release and at least two (2) periodic drug tests thereafter to determine
        whether the Defendant is using a controlled substance. Further, the Defendant shall submit to
        such testing as requested by any probation officer to detect the presence of alcohol or controlled
        substances in the Defendant’s body fluids and to determine whether the Defendant has used any
        of those substances. Based on the Defendant’s ability to pay, the Defendant shall pay for the
        collection of urine samples to be tested for the presence of alcohol and/or controlled substances
        in an amount to be determined by the probation officer.

7.      The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79,
        Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement,
        and, thereafter, as directed by the probation officer.
8:02-cr-00329-BCB-SMB            Doc # 301       Filed: 09/12/07        Page 5 of 6 - Page ID # 1295


Defendant: CRAIG A. ROBERTS                                                                      Page 5 of 6
Case Number: 8:02CR329-004


                              CRIMINAL MONETARY PENALTIES


        The Defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                     Total Restitution

           $100.00 (paid)                                                       $212,634.00
                                                                             ($211,622.31 due)



The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that: interest requirement is waived.

                                                 FINE

          No fine imposed.

                                             RESTITUTION

         Restitution in the amount of $212,634.00 is hereby ordered. The Defendant shall make
restitution to the following payees in the amounts listed below.

         If the Defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                    Priority Order
                               **Total Amount              Amount of                or Percentage
     Name of Payee                 of Loss             Restitution Ordered           of Payment

 Rochester Armored                 $37,355                   $37,355                   Priority
 Car Company                                                                    Order/Percentage

 Fireman’s Fund                   $175,279                   $175,279                  Priority
 Insurance                                                                      Order/Percentage

 Totals                          $212,634.00                $212,634.00


          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A
of Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April
23, 1996.
8:02-cr-00329-BCB-SMB              Doc # 301        Filed: 09/12/07   Page 6 of 6 - Page ID # 1296


Defendant: CRAIG A. ROBERTS                                                                Page 6 of 6
Case Number: 8:02CR329-004


                                     SCHEDULE OF PAYMENTS

The special assessment in the amount of $100.00 is paid in full.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the Defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $50 or 3% of the Defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the Defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the Defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the Court.

The Defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

Restitution is hereby ordered jointly and severally with: Otis Walker, Danny D. Reaves and
Ronie Lawrence, 8:02CR329.
CLERK’S OFFICE USE ONLY: ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
